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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 REPORTERS COMMITTEE
 FOR FREEDOM OF THE PRESS,
                       Plaintiff,
                v.                                       Civil Action No. 17-1701 (RC)
 FEDERAL BUREAU
 OF INVESTIGATION, et al.,
                       Defendants.


                               JOINT STATUS REPORT

       Plaintiff, the Reporters Committee for Freedom of the Press (“RCFP”), and Defendants,

the Federal Bureau of Investigation (“FBI”) and the United States Department of Justice, submit

this joint status report in response to the Court’s minute order dated November 26, 2019.

       1.      On August 21, 2017, Plaintiff filed a complaint alleging that Defendants violated

the Freedom of Information Act (“FOIA”) by not releasing requested records about the FBI’s

impersonation of documentary filmmakers and film crews. ECF 1, ¶ 2. Specifically, RCFP’s FOIA

request sought the following categories of records:

       1. All records that mention ‘Longbow’ or ‘Longbow Productions’ since January 1, 2010,
          including but not limited to email communications, case files, training materials, and
          contracts;
       2. All records, including but not limited to email communications, concerning or
          referencing the impersonation of a documentary filmmaker and/or a documentary film
          crew by the FBI in connection with any criminal investigation related to United States
          v. Burleson, No. 2:16-CR-00046 (PAL) (GMN) (D. Nev.);
       3. The October 2014 video recording of Mr. Burleson made by FBI agents posing as a
          documentary film crew;
       4. All records, including but not limited to email communications, concerning or
          referencing the impersonation of a documentary filmmaker and/or a documentary film
          crew by the FBI in connection with any criminal investigation related to United States
          v. Bundy, No. 2:16-CR-00046 (PAL) (GMN) (D. Nev.);
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       5. The ‘release form’ referenced on Page 2 of the Government’s Motion to Strike in United
          States v. Bundy, No. 2:16-CR-00046 (PAL) (GMN), ECF. No. 926 (D. Nev. Nov. 2,
          2016);
       6. All records, including but not limited to email communications, concerning or
          referencing any other instances of impersonation of a documentary filmmaker and/or a
          documentary film crew by the FBI in connection with any criminal investigation since
          January 1, 2010;
       7. Records of any 'professional credentials, websites and business cards' used by the FBI
          agents in connection with the impersonation of a documentary filmmaker and/or a
          documentary film crew since January 1, 2010; and
       8. All records of the FBI's policies and practices concerning the impersonation of
          documentary filmmakers and/or documentary film crews since January 1, 2010,
          including records of any changes to those policies and practices.

Compl., ECF 1, ¶ 19.

       2.      The FBI issued a Glomar response with respect to Items 6 and 7, contending that

acknowledging the existence vel non of responsive records would reveal information protected

from disclosure by Exemption 7(E). The parties proposed to file partial summary judgment

motions solely on the propriety of the FBI’s Glomar response, and the Court adopted that proposal.

On March 1, 2019, the Court denied Defendants’ motion for partial summary judgment and

granted Plaintiff’s cross-motion for partial summary judgment as to the propriety of Defendants’

Glomar response. See ECF 29.

       3.      Thereafter, the parties filed joint status reports dated March 18, 2019; April 17,

2019; May 17, 2019; June 17, 2019; July 17, 2019; October 17, 2019; and November 26, 2019

updating the Court on the FBI’s search for records responsive to Items 6 and 7 of Plaintiff’s FOIA

request. In the November 26, 2019 status report, Defendants reported that the FBI had completed

its search and “reviewed approximately 125,000 pages of potentially responsive records for

responsiveness,” and would “begin processing records to determine whether they will be released

or withheld as exempt.” ECF 36 at ¶ 4.



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          4.      On January 14, 2020, the FBI provided Plaintiff with its first production of records

and/or portions thereof responsive to Items 6 and 7 of Plaintiff’s FOIA request. Of the 90 pages

reviewed by the FBI in connection with that release, 36 pages were deemed by the FBI to be

“responsive.” Of those 36 pages deemed “responsive” by the FBI, 10 were redacted/withheld in

part citing 5 U.S.C. § 552(b)(6), (b)(7)(C), (b)(7)(D), and (b)(7)(E), and 26 were withheld in their

entirety citing 5 U.S.C. § 552(b)(6), (b)(7)(A), (b)(7)(C), (b)(7)(D), and b(7)(E).

          5.      Plaintiff’s Position: During meet-and-confer discussions prior to the filing of the

parties’ November 26, 2019 status report, counsel for Plaintiff asked Defendants to provide the

number of pages of records the FBI had identified as responsive to Items 6 and 7 of Plaintiff’s

FOIA request. This request was made so that Plaintiff could evaluate Defendants’ proposal to

complete its processing and production of responsive records on or before May 29, 2020. ECF 36

at ¶ 5.

          6.      Counsel for Defendants refused to provide the number of pages of records it has

identified as responsive to Items 6 and 7 of Plaintiff’s FOIA request because, according to the FBI,

doing so would purportedly reveal the “frequency with which the FBI employs the technique” of

impersonating documentary filmmakers, which the FBI asserts is information that may be withheld

under Exemption 7(E).

          7.      Plaintiff strongly disagrees with the FBI’s position, which, among other things,

contravenes this Court’s March 1, 2019 Order denying Defendants’ motion for partial summary

judgment and granting Plaintiff’s partial motion for summary judgment. ECF 29. The Court

rejected the FBI’s attempt to assert a Glomar response to the relevant portions of RCFP’s FOIA

request under Exemption 7(E). Id. Specifically, the Court held that the fact that the FBI

impersonates documentary filmmakers is a “technique” that is known to the public and that



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“revealing that the FBI has responsive records would establish that it has used the technique” more

than once, but that “this would not reduce or nullify the effectiveness of the technique when it is

actually used.” Id. at 19.

       8.      Even assuming, arguendo, that the frequency with which the FBI “employs the

technique” at issue is information that may be withheld under Exemption 7(E), the number of

pages of records identified by the FBI as responsive to Items 6 and 7 of RCFP’s FOIA request

does not provide that information. Indeed, Defendants have previously represented to the Court

in this litigation that the FBI possesses 20,000 pages of responsive records related to a single

instance of documentary filmmaker impersonation. ECF 16 at 4 (stating that following a search

of the Bundy/Burleson investigative files for the search terms “Longbow” and “Longbow

Productions,” the FBI located more than 20,000 pages of responsive records). The FBI’s position

is an attempted end-run around this Court’s determination that the FBI may not assert a Glomar

response to refuse to confirm or deny the existence of records responsive to Items 6 and 7 of

RCFP’s FOIA request.

       9.      Without knowing the number of pages of responsive records at issue Plaintiff

cannot determine whether Defendants’ proposed processing schedule is reasonable. Moreover,

Plaintiff anticipates that Defendants’ position will place it a significant disadvantage for purposes

of summary judgment briefing. It is unclear to Plaintiff, for example, how Defendants intend to

provide a document-by-document Vaughn Index sufficient to carry their burden to justify the

withholding of any records, or portions thereof, if they refuse to identify the number of responsive

documents they are withholding. See King v. U.S. Dep’t of Justice, 830 F.2d 210, 218 (D.C. Cir.

1987) (an agency’s showing must be “full and specific enough to afford the FOIA requester a

meaningful opportunity to contest . . . the soundness of the withholding,” and explaining that such



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a showing is necessary to correct the “asymmetrical distribution of knowledge that characterizes

FOIA litigation”).

       10.     Defendants’ Position: The FBI has completed its search with respect to Items 6

and 7 and has reviewed approximately 125,000 pages of potentially responsive records for

responsiveness. The FBI has begun processing the records from this pool that were found to be

responsive to determine whether they will be released or withheld as exempt.

       11.     The FBI reviewed the initial subset of 90 pages and released the non-exempt

material to Plaintiff on January 14, 2020. The remainder of the material, which is equal to or greater

than one document, will be reviewed and processed in accordance with briefing requirements over

the next six months. The FBI anticipates completing the processing of this material on or before

May 29, 2020. The government anticipates being able to file a summary judgment motion on or

before July 31, 2020.

       12.     Defendant disagrees with Plaintiff’s position that the Court’s prior order requires it

to reveal sensitive information about the volume of responsive records regarding an undercover

law enforcement technique. Indeed, the order indicates precisely the opposite. Contrary to RCFP’s

reading, the Court’s order assumed that the number of responsive records would not be revealed,

and it was precisely on that basis that the Court rejected the FBI’s Glomar response. Specifically,

the Court concluded that “[s]imply revealing that the FBI has any such records would not allow

criminals to discern whether or not the FBI has used the technique to investigate their own, specific

activity, because all a criminal would know is the existence of an unquantified number of records.

For the same reason, acknowledging the existence of records, without any indication about the

number or type of records found, would not provide any information about the frequency of the

technique’s use.” ECF 29 at 18 (emphases added). RCFP misleadingly interprets the Court’s order



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as requiring the FBI to disclose the very information that the Court assumed would not be

disclosed, even though that assumed nondisclosure was the very basis for the Court’s conclusion

that the FBI’s law enforcement concerns did not necessitate a Glomar response. With its motion

for summary judgment, the FBI intends to provide the Court in camera with all the information

necessary to sustain its withholdings of exempt material.

       13.     The parties propose to file another joint status report updating the Court on the

status of the FBI’s processing of RCFP’s request on or before March 17, 2020.



 Respectfully submitted,                            JESSIE K. LIU, D.C. Bar #472845
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 Dated: January 31, 2020




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